Case 2:05-cr-20030-.]PI\/| Document 84 Filed 06/24/05 Page 1 of 3 Page|D 102

IN THE UNITED S'I'ATES DISTRIC'I` COUR'I`
FOR THE WES'I'ERN DIS'I'RICT OF TENNESSEE
WESTERN DIVISION

 

 

U'NITED STATES OF AMERIC.A
Plail'ltiff,

Criminal No. 261 20030 Ml

J;sz€pAbw dizzy (60-Day Continuance)
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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav. August 26, 2005, with trial to take place on
the September, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through September 16, 2005. Agreed in

open court at report date this 24th day of June, 2005.

Thls document entered on the docket sh et a
wlth Flu|e 55 and/or 32(b) FRCrP on

Case 2:05-cr-20030-.]PI\/| Document 84 Filed 06/24/05 Page 2 of 3 Page|D 103

So oRDERED this 24th day of June, 2005.

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JON PHIPPS MCCALLA
U'N ED STATE‘.S DISTRIC'I` JUDGE

 

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Assistant United States Attorney

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Counsel for DefehdanthT’

 

 

 

ISTRIC COURT - WESERT DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
case 2:05-CR-20030 Was distributed by faX, mail, or direct printing on
.1 une 27, 2005 to the parties listed.

 

Charles E. Waldman

WALDMAN & ASSOCIATES

200 .1 efferson Ave.
Ste. 210
1\/1emphis7 TN 38103

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE

167 N. Main St.
Ste. 800
1\/1emphis7 TN 38103

LaWrence W. Kern
KERN LAW FIRM

51 18 Park Avenue

Ste. 600

1\/lemphis7 TN 38117--571

.1 acob E. ErWin
WAGERMAN LAW FIRM
200 .1 efferson Avenue

Ste. 13 13

1\/1emphis7 TN 38103

Eric Scott Hall
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

